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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


   HEADWATER RESEARCH LLC,
                         Plaintiff,
                                                 Civil Action No. 2:22-cv-00422-JRG-RSP
             v.
   SAMSUNG ELECTRONICS CO., LTD.,
   SAMSUNG ELECTRONICS AMERICA,                  JURY DEMANDED
   INC.,
                         Defendants.

      JOINT MOTION FOR EXTENSION OF TIME TO FILE PROPOSED DOCKET
                 CONTROL ORDER AND DISCOVERY ORDER

         Plaintiff Headwater Research, LLC (“Headwater”) and Defendants Samsung Electronics

  Co., Ltd., and Samsung Electronics America, Inc. (collectively, “Defendants” or “Samsung”),

  (collectively, the “Parties”) file this Joint Motion for Extension of Time to File Proposed Docket

  Control Order and Discovery Order.

         The current deadline for the Parties to file their proposed docket control order and

  discovery order is March 28, 2023. The Parties have been diligently preparing these materials and

  respectfully request a brief extension of time to finalize these materials. This extension is not

  sought for prejudice or delay, but for good cause and so that justice may be served.

         Accordingly, the Parties respectfully request that the Court extend the deadline for filing

  their proposed docket control order and discovery order by two days to March 30, 2023.
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  Dated: March 28, 2023                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

  service are being served this 28th day of March 2023, with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3).

                                                      /s/ Marc Fenster
                                                      Marc Fenster




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                              CERTIFICATE OF CONFERENCE

         The undersigned certifies that counsel complied with the requirements of Eastern District

  of Texas Local Rule CV-7(h). The parties are in agreement on filing this Joint Motion.

                                                     /s/ Jason Wietholter
                                                     Jason Wietholter




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